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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

                                                      CIVIL ACTION NO. 1:19-CV-11463-DJC


 JAMES LACROIX, RENEE PAYNE-
 CALLENDER, THE BOSTON POLICE
 PATROLMEN’S ASSOCIATION, THE BOSTON
 POLICE DETECTIVES BENEVOLENT
 SOCIETY, and THE BOSTON POLICE
 SUPERIOR OFFICERS FEDERATION,
               Plaintiffs,

                    v.

 THE BOSTON POLICE DEPARTMENT,
              Defendant.


                    JOINT MOTION TO AMEND SCHEDULING ORDER

       Plaintiffs, James LaCroix, Renee Payne-Callender, the Boston Police Patrolmen’s

Association, the Boston Police Detectives Benevolent Society, and the Boston Police Superior

Officers Federation, and Defendant, the Boston Police Department (collectively, the “Parties”),

hereby move this Court to amend the scheduling order as follows:

                                      Current Deadline                   Proposed Deadline

Fact Discovery:                       March 21, 2021                     April 21, 2021

Requests for Admission:               March 21, 2021                     April 21, 2021

Status Conference                     February 22, 2021                  April 26, 2021

Motions for Summary Judgment:         April 1, 2021                      May 21, 2021

In support of this Motion, the Parties submit the following:
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1.       In this action, Plaintiffs allege that the Department has violated the Americans with

         Disabilities Act by requiring return to work physical and psychological examinations of

         sworn officers.

2.       The Parties have been working collaboratively to complete paper discovery and

         depositions; however, due to scheduling concerns and the COVID-19 pandemic, the Parties

         anticipate needing an additional month to complete written discovery and depositions.

3.       This is the Parties’ first request to amend the scheduling order, and no party’s rights will

         be prejudiced if this Court allows the Parties’ request.

         WHEREFORE, the Parties respectfully request that the deadlines be extended as set forth

above.

Dated: February 3, 2021

Respectfully submitted,

JAMES LaCROIX and BPPA,                                BOSTON POLICE DEPARTMENT,
By their counsel,                                      By its attorneys,
/s/ Bryan Decker
Bryan Decker, BBO #561247                              Eugene L. O’Flaherty
Jennifer Rubin, BBO #684323                            Corporation Counsel
Decker & Rubin, PC
295 Freeport Street                                    /s/ Winifred B. Gibbons
Boston, MA 02122                                       Nicole M. O’Connor, BBO #675535
(617) 877-1716                                         Senior Assistant Corporation Counsel
bdecker@deckerrubin.com                                Erika P. Reis, BBO #669930
jrubin@deckerrubin.com                                 Senior Assistant Corporation Counsel
                                                       Winifred B. Gibbons, BBO #692724
RENEE PAYNE-CALLENDER and                              Assistant Corporation Counsel
BPSOF,                                                 City of Boston Law Department
By their counsel,                                      Boston, MA 02201
/s/ Scott Dunlap                                       (617) 635-4039 (O’Connor)
Scott Dunlap, BBO #634389                              (617) 635-4031 (Reis)
Attorney at Law                                        (617) 635-4020 (Gibbons)
89 Access Road, Suite 19                               Nicole.OConnor@boston.gov
Norwood, MA 02062                                      Erika.Reis@boston.gov
(781) 349-8551                                         Winifred.Gibbons@boston.gov
swdesq@comcast.net



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BPDBS,
By its counsel,
/s/ Patrick Bryant
Patrick Bryant, BBO #65220
Pyle Rome Ehrenberg, PC
12 Liberty Square, 10th Floor
Boston, MA 02109
(617) 723-5500
pbryant@pylerome.com




                                CERTIFICATE OF SERVICE

        I, Winifred B. Gibbons, hereby certify that a true copy of the above document has been
served upon all registered parties via this court’s electronic filing system and upon all non-
registered parties via first class mail.

Date: February 3, 2021                                    /s/ Winifred B. Gibbons




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